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         Nos. 24-7000 (lead), 24-3449, 24-3450, 24-3497,
          24-3508, 24-3510, 24-3511, 24-3519, 24-3538


      In the United States Court of Appeals
              for the Sixth Circuit
    IN RE: MCP NO. 185: FEDERAL COMMUNICATIONS COMMISSION,
     IN THE MATTER OF SAFEGUARDING AND SECURING THE OPEN
    INTERNET, DECLARATORY RULING, ORDER, REPORT AND ORDER,
      AND ORDER ON RECONSIDERATION, FCC 24-52, 89 FED. REG.
                 45404, PUBLISHED MAY 22, 2024

                      On Petitions for Review

CORRECTED BRIEF FOR AMICUS CURIAE CHRISTOPHER S. YOO
        IN SUPPORT OF INDUSTRY PETITIONERS


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      DISCLOSURE OF CORPORATE AFFILIATIONS AND
                 FINANCIAL INTEREST

     Pursuant to 6th Cir. R. 26.1, Christopher S. Yoo makes the

following disclosure:

     1.    Is said party a subsidiary or affiliate of a publicly owned

           corporation? If Yes, list below the identity of the parent

           corporation or affiliate and the relationship between it and

           the named party:

                  No.

     2.    Is there a publicly owned corporation, not a party to the

           appeal, that has a financial interest in the outcome? If yes, list

           the identity of such corporation and the nature of the financial

           interest:

                  No.

                                          /s/ Christopher S. Yoo
                                          Christopher S. Yoo

August 22, 2024




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        STATEMENT OF IDENTITY, INTEREST IN CASE,
           AND SOURCE OF AUTHORITY TO FILE
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to which Professor Wu published a reply). He has published more than

120 scholarly works, roughly half of which have addressed net neutrality

in whole. He participated in the agency proceedings below.

     All parties have consented to the brief’s being filed.

                                          /s/ Christopher S. Yoo
                                          Christopher S. Yoo

August 22, 2024



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                 STATEMENT OF AUTHORSHIP
                AND FINANCIAL CONTRIBUTIONS

     No party’s counsel authored this brief in whole or in part. No party

or party’s counsel contributed money intended to fund the preparation or

submission of this brief, and no person other than Amicus contributed

money intended to fund the preparation or submission of this brief.




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    INTRODUCTION AND SUMMARY OF THE ARGUMENT

     The Federal Communications Commission’s (FCC’s) determination

in the 2024 Open Internet Order that broadband Internet access

constitutes a telecommunications service cannot be squared with the

statute. The definition of “telecommunications” requires that the user be

the actor who specifies the points between or among which the

information is to be transmitted. An examination of the technologies

underlying the Domain Name System (DNS) and caching reveals that it

is typically the Internet service provider (ISP) or the DNS provider that

decides to which point to direct a request, not the user. The advent of

Smart DNS services further establishes that DNS provides the type of

functionality   associated      with   information    service    rather   than

telecommunications service.

     The 2024 Open Internet Order also conflicts with the First

Amendment. The court reviewing the 2015 Open Internet Order on which

the 2024 Open Internet Order is based acknowledged that any services

over which ISPs exercise editorial discretion enjoy full First Amendment

protection. This acknowledgement necessarily also recognized ISPs’ First

Amendment       rights   over    bandwidth    that   previously     had   been
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unmanaged. Simply put, the existence of a person’s First Amendment

rights does not depend on whether or not they choose to exercise those

rights. Moreover, courts have recognized that providers of common

carriage services retain the First Amendment right to offer additional

services over which they do exercise editorial discretion. These

precedents imply that ISPs have the constitutional right to offer

specialized services. Any attempt to prevent providers from reallocating

bandwidth from the traditional Internet to specialized services would

represent an impermissible limit on those rights.


                              ARGUMENT

I.   RECLASSIFYING BROADBAND INTERNET ACCESS AS A
     TELECOMMUNICATIONS SERVICE CONFLICTS WITH
     THE PLAIN LANGUAGE OF THE COMMUNICATIONS ACT

     The Supreme Court’s Brand X decision unanimously held that

broadband Internet access provided by cable companies constituted an

information service. Nat’l Cable & Telecomm. Ass’n v. Brand X Internet

Servs., 545 U.S. 967, 974, 987 (2005) (Brand X); id. at 1010 (Scalia, J.,

dissenting); accord In re MCP No. 185, No. 24-7000, 2024 WL 3650468,

at *5 (6th Cir. Aug. 1, 2024) (Sutton, C.J., concurring). The Court also



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held the term “offering” in the definition of “telecommunications service”

to be ambiguous and applied the Court’s then-binding decision in

Chevron U.S.A. Inc. v. Natural Resources Defense Council, 467 U.S. 837

(1984), to uphold the FCC’s ruling that broadband Internet access was

not a telecommunications service. Brand X, 545 U.S. 997–1000. The D.C.

Circuit invoked Chevron and Brand X to reject statutory challenges to

the FCC’s 2015 Open Internet Order reclassifying broadband Internet

access as a telecommunications service. U.S. Telecom Ass’n v. FCC, 825

F.3d 674, 701–02, 704–06 (D.C. Cir. 2016) (USTA I).

     This case presents the first chance since the Supreme Court’s

landmark decision in Loper Bright Enterprises v. Raimondo, 144 S. Ct.

2244 (2024), for a court to assess whether reclassifying broadband

Internet access service as a “telecommunications service” conflicts with

the statutory text. Loper Bright’s overruling of Chevron invalidated the

doctrine that the finding of a statutory ambiguity requires courts to

forego consideration of what constitutes the best reading of the statute.

Courts must now fully consider any arguments based on the statutory

text and make their own assessment of a statute’s proper interpretation.




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      The statute defines “telecommunications service” as “the offering of

telecommunications for a fee directly to the public.” 47 U.S.C. § 153(53).

“Telecommunications” is in turn defined as “the transmission, between or

among points specified by the user, of information of the user’s choosing,

without change in the form or content of the information as sent and

received.” Id. § 153(50) (emphasis added). Unless Internet access service

falls within this definition, reclassification of Internet access service as a

telecommunications service would violate the statute and would be

illegal.

      The plain meaning of “point” is a discrete physical location. See THE

AMERICAN HERITAGE COLLEGE DICTIONARY 1055 (3d ed. 1993) (defining

“point” as “a. A place or locality considered with regard to its position. b.

A narrowly particularized and localized position or place; a spot.”);

WEBSTER’S NINTH NEW COLLEGIATE DICTIONARY 908 (1991) (defining

“point” as “(1) a narrowly localized place having a precisely indicated

position . . . (2) a particularized place: locality”); WEBSTER’S THIRD NEW

INTERNATIONAL DICTIONARY 1749 (1986) (defining “point” as “a

particularly narrowly limited part of a surface or of space that is singled

out as occupying a usu[ally] precisely indicated spot and that has



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usu[ally] minimum extension or no relevant extension: a specific

narrowly localized place having no relevant size or shape: a definitely

precisely indicated placement or position of something”); 2 THE NEW

SHORTER OXFORD ENGLISH DICTIONARY 2266–67 (rev. 3d ed. 1993)

(defining “point” as “a thing having a definite position, without extension,

a position in space, time, succession, degree, order, etc.”). The unity of

these definitions contradicts claims asserted in previous reclassification

efforts that the term “point” is ambiguous. Protecting and Promoting the

Open Internet, Report and Order on Remand, Declaratory Ruling, and

Order, 30 FCC Rcd. 5601, 5761 ¶ 361 (2015), aff’d sub nom. U.S. Telecom

Ass’n v. FCC, 825 F.3d 674 (D.C. Cir. 2016) (2015 Open Internet Order).

     An examination of the technology underlying the Internet and the

reasoning of the Supreme Court’s decision in Brand X both underscore

that end users do not specify the points between or among which the

information is transmitted.




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     A.     As the Supreme Court Recognized in Brand X,
            Broadband Internet Access Services’ Reliance on the
            Domain Name System (DNS) and Caching Requires
            Finding  that   Their   Transmissions     Are   Not
            Telecommunications.

     Computer networking textbooks universally recognize that “[t]he

glue that holds the whole Internet together” is the Internet Protocol (IP)

that all networks connected to the Internet must operate. A NDREW S.

TANENBAUM, NICK FEAMSTER, & DAVID WEATHERALL, COMPUTER

NETWORKS § 5.7, p. 443 (6th ed., global ed. 2021) (TANENBAUM ET AL.);

accord LARRY L. PETERSON & BRUCE S. DAVIE, COMPUTER NETWORKS: A

SYSTEMS APPROACH § 1.3, p. 31 (6th ed. 2020) (“IP serves as the focal point

for the architecture—it defines a common method for exchanging packets

among a wide collection of networks.”). First conceived by Vinton G. Cerf

& Robert E. Kahn, A Protocol for Packet Network Interconnection, 22

IEEE TRANSACTIONS ON COMM. 637, 638 (1974), the IP protocol requires

that each computer attached to the edge of the Internet (called a host)

have a unique address (called an IP address). Id. at 637, 641; Christopher

S. Yoo, Protocol Layering and Internet Policy, 161 U. PA. L. REV. 1707,




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1736 (2013) (Yoo, Protocol Layering).1 In the case of version of IP

currently in the most widespread use, known as IP version 4 (IPv4), IP

addresses are represented as 32-bit numbers, commonly expressed as a

quartet of numbers ranging from 0 to 255. TANENBAUM ET AL. § 5.7.2, p.

448. For example, the University of Pennsylvania currently has two IP

addresses assigned to it: 128.91.34.233 and 128.91.34.234. Christopher

S. Yoo, Wireless Net Neutrality: Technological Challenges and Policy

Implications, 31 BERKELEY TECH. L.J. 1409, 1453 (2016) (Yoo, Wireless

Net Neutrality).2

       The Internet Protocol stores all the information needed to route an

IP packet in the IP header and then requires that all routers forward

packets solely based on that information. Cerf & Kahn 638–39; Yoo,

Protocol Layering 1722, 1736. Notably for purposes of these cases, the IP

header of every packet must contain the IP address assigned to the host




   1 Cerf and Kahn recognized that providers may use a pool of IP
addresses and dynamically assign them to individual hosts on a
temporary basis. Cerf & Kahn 645–46. The temporary nature of this
assignment does not undercut the fact that at any particular moment,
each address identifies a unique host.
   2 The more recent version of the Internet (known as IP version 6 or
IPv6) follows the same principle with a greatly expanded address space.


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from which the transmission was sent (called the “source address”) as

well as the one assigned to the host to which the transmission is directed

(called the “destination address”), and all routers that make up the

Internet must route traffic based on the destination address contained in

the IP header. Cerf & Kahn 637, 638–39; TANENBAUM ET AL. § 1.5.3, p.

54; § 5.1.2, p. 361; § 5.7.2, p. 451.

       The Internet’s architectural design makes clear that the

destination address represents the point to which the transmission is

directed. Whether broadband Internet access comports with the

statutory definition of telecommunications service thus depends on

whether the end user specifies the destination address or whether some

other actor makes that decision.3


            1.    DNS

       The Supreme Court has recognized that Internet users typically do

not specify IP addresses when using the Internet. Instead, users

browsing the web specify a website’s address in the form of a domain


   3  Amicus curiae raised these arguments during the proceedings that
led to the 2015 Open Internet Order. 2015 Open Internet Order 5761–62
¶ 361 & nn.996 & 1001. Other parties raised the same arguments during
the current proceeding. App. 65 ¶ 113 & n.424.


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name and depend on a service known as the Domain Name System (DNS)

to “match[] the Web site address the end user types into his browser (or

‘clicks’ on with his mouse) with the IP address of the Web page’s host

server.” Brand X, 545 U.S. at 999. The Court further cited with approval

a textbook’s conclusion, “For an Internet user, ‘DNS is a must. . . .

[N]early all of the Internet’s network services use DNS. That includes the

World Wide Web, electronic mail, remote terminal access, and file

transfer.’” Id. (quoting PAUL ALBITZ & CRICKET LIU, DNS AND BIND 10 (4th

ed. 2001)). DNS’s importance explains why all ISPs offer it as part of their

broadband Internet access service.

     The Supreme Court properly rejected contentions that the DNS was

nothing more than a database of routing information. Id. at 999 n.3. As

an initial matter, there is simply not a one-to-one correspondence

between domain addresses and IP addresses. To cite one example, the

University of Pennsylvania maintains two distinct IPv4 addresses and

depends on DNS to determine which of these addresses to route any

particular request.

     Content delivery networks (CDNs) provide a more general example.

CDNs give content providers the opportunity to store multiple copies of



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content in thousands of locations around the world and determine from

which location to fulfill specific requests for that content. Christopher S.

Yoo, Wickard for the Internet?: Network Neutrality after Verizon v. FCC,

66 FED. COMM. L.J. 415, 441–42 (2014). Estimates suggest that CDNs

currently deliver content for nearly half of the world’s top websites. What

Is a CDN? A Guide to Speeding Up and Securing Your Site, KINSTA (Aug.

13, 2024), https://kinsta.com/knowledgebase/what-is-a-cdn/ (reporting

that 46% of the top million websites use CDNs). Market leader Akamai

reportedly maintains approximately 365,000 servers in 135 countries,

Tassos Antoniou, Next-Level Web Performance with Akamai Enterprise

CDN,    PRESSIDIUM          (July   3,   2024),     https://pressidium.com/blog/

partnership-akamai-enterprise-cdn/, and uses DNS to determine the

optimal location from which to respond to requests in terms of

performance, user experience, resource utilization, and reliability. Erik

Nygren et al., The Akamai Network: A Platform for High-Performance

Internet Applications, 44 ACM SIGOPS OPERATING SYS. REV. 2 (2011);

Akamai Solution Brief: Global Scale Delivers the Intelligence for Effective

Security,     AKAMAI        (May    2024),    https://www.akamai.com/site/en/

documents/solution-brief/2024intelligence-for-effective-security.pdf.



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Other companies with sufficient scale follow the same practices with

large numbers of servers in their proprietary data centers. How Many

Servers in the World?, SYSRACKS (Mar. 17, 2022), https://sysracks.com/

blog/how-many-servers-do-famous-companies-have/.

     For the vast majority of web content, DNS rather than users

specifies the point to which requests are directed. This fact takes

broadband    Internet    access   outside   the   statutory    definition   of

telecommunications service.

     The fact that a web address may be associated with multiple IP

addresses either because the content provider possess more than one

address or because it is using a CDN and relies on DNS to determine

from which location to serve particular content eviscerates the FCC’s

belief that specifying a web address is tantamount to specifying the

location of the server that will deliver the requested content. App. 65

¶ 113. Any suggestion that specifying a website’s name is tantamount to

specifying its location is further contradicted by the fact that proposals

to redesign the Internet to route traffic based on content names rather

than IP addresses, see, e.g., Lixia Zhang et al., Named Data Networking,




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44 ACM SIGCOMM COMPUTER COMM. REV. 66 (2014), have never been

adopted.

     Any suggestion that DNS represents nothing more than a file

lookup service is further belied by the advent of Smart DNS, which

enables DNS to perform a wide range of additional functions. For

example, Smart DNS plays a key role in network security by, among

other things, blocking access to malicious websites and examining

patterns of DNS lookups to identify computers that might be infected

with malware, see, e.g., Mingxuan Liu et al., Understanding the

Implementation and Security Implications of Protective DNS Services, in

PROC. NETWORKED & DISTRIB. SYS. SEC. (NDSS) SYMP. (2024), https://

www.ndss-symposium.org/wp-content/uploads/2024-782-paper.pdf/

(malicious websites); Vicente Quezada et al., Real-Time Bot Infection

Detection System Using DNS Fingerprinting and Machine-Learning, 228

COMPUT. NETWORKS 109725 (2023) (malware infection detection). Smart

DNS can also enable content filtering, including parental controls. See,

e.g., How to Filter Internet Content with Parental Control DNS, BEST

REVS. (July 14, 2024), https://bestreviews.net/how-to-filter-internet-

content-with-parental-control-dns/. It can also support ad blocking,



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geoblocking, and copyright infringement. See, e.g., Hermaniño C.

Lagunzad & Mikee V. Gonzaga, Tracking and Blocking Adware Using

DNS Sinkholing Algorithm, PROC. 16TH INT’L CONF. ON COMPUT. &

AUTOMATION ENG’G (ICCAE) 30 (2024) (ad blocking); Allison McDonald

et al., 403 Forbidden: A Global View of CDN Geoblocking, PROC.

INTERNET MEASUREMENT CONF. (IMC’18) 218 (2018) (geoblocking); Filipa

Reis et al., Controlling Digital Piracy via Domain Name System Blocks:

A Natural Experiment, 218 J. ECON. BEHAV. & ORG. 89 (2024) (copyright

infringement). All these aspects of Smart DNS represent deviations from

the points connected by the Internet transmission specified by the user

and provide a further reason that broadband Internet access falls outside

the definition of telecommunications service.

     The vast majority of broadband subscribers use the DNS provided

by their ISP. App. 1561 (reporting survey evidence that 92% of

subscribers use the DNS provided by their ISP). The fact that some end

users may choose to change DNS providers does not change the analysis.

Shifting from one DNS provider to another simply transfers who gets to

decide the destination of Internet traffic from one third party to another.

It does not put the end user in the position of determining the destination



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IP address. Unless the end user operates a private DNS service or

invokes IP addresses by number instead of relying on domain names, it

is the third-party DNS provider that specifies the endpoint of the

transmission, not the end user.


           2.    Caching

     Another functionality that the Supreme Court recognized as

supporting the conclusion that broadband Internet access is not a

telecommunications service is caching. Brand X, 545 U.S. at 999–1000,

As the Court noted, caching occurs when an Internet service provider

(ISP) chooses “to store . . . popular content on local computer servers”

rather than retrieving it from the content provider every time a user

requests it. Id. at 999; Geoff Huston, Web Caching, INTERNET PROTOCOL

J., Sept. 1999, at 2, available at http://www.cisco.com/web/about/ac123/

ac147/archived_issues/ipj_2-3/ipj_2-3.pdf.

     Like DNS, caching cannot be squared with the requirement in the

statutory definition of telecommunications that the user specify the point

to which its information will be transmitted. ISPs that cache content that

receive requests for content first check to see if that content has been

cached and, if so, redirect that request to the cache. Muhammad


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Abdullah et al., Caching and Neutrality, PROC. 22D ACM WORKSHOP ON

HOT TOPICS IN NETWORKS (HOTNETS’23) 63, 65 (2023). Only after

determining that the requested content is not in the cache does the ISP

obtain the content from the location identified by DNS. Id.

      Decisions about from where to serve requests for content when

content is cached thus reside with the ISP and not the user. As such,

caching provides another way in which broadband Internet access falls

outside the definition of telecommunications service.


      B.     The FCC’s Attempts to Refute This Argument Are
             Invalid.

      The three arguments on which the FCC relied to refute these

statutory arguments are invalid. First, the FCC’s claim that mobile voice

calls represent an example of a service where the user does not specify

the point to which its transmission is directed, App. 66 ¶ 114, is based on

a fundamental misunderstanding of the technology. When dialing a

mobile telephone number, users do in fact select the particular mobile

terminal they are trying to reach. The fact that the location may change

does not alter the fact that the call is directed at a clear target at any one

time. Moreover, placing a voice call to a mobile device sends a query to a



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fixed location known as the Home Location Register, which tracks the

location of a network’s mobile terminals. Sun Bae Lim et al., Development

of the Home Location Register/Authentication Center in the CDMA

Mobile System, 19 ETRI J. 186 (1997). Initiating a mobile voice call thus

requires users to communicate with a fixed location and involves the

desire to connect to a device chosen by the user even if its location is

dynamic.

       Second, the FCC’s claim that the additional storage and processing

functions associated with DNS do not make broadband Internet access

an information service because DNS falls within the telecommunications

management exception to the definition of information service, App. 85–

86 ¶¶ 137–138,4 is inconsistent with the FCC’s prior decisions. The FCC

has ruled that as a general matter “protocol processing services

constitute information services under the 1996 Act.” Implementation of

the Non-Accounting Safeguards of Sections 271 and 272 of the

Communications Act of 1934, as Amended, First Report and Order and



   4  Specifically, the definition of “information service” excludes
“capability for the management, control, or operation of a
telecommunications system or the management of a telecommunications
service.” 47 U.S.C. § 153(24).


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Further Notice of Proposed Rulemaking, 11 FCC Rcd. 21905, 21956 ¶ 104

(1996), remanded sub nom. Bell Atl. Tel. Cos. v. FCC, No. 97-1067, 1997

WL 307161 (D.C. Cir. Mar. 31, 1997), cited with approval by Charter

Advanced Serv. (MN), LLC v. Lange, 903 F.3d 715, 720 (8th Cir. 2018).

The Commission did recognize three exceptions under which protocol

processing would be considered telecommunications services: protocol

processing (1) involving communications between an end-user and the

network itself, (2) in connection with the introduction of a new basic

network technology, and (3) involving internetworking (conversions

taking place solely within the carrier’s network to facilitate provision of

a basic network service, that result in no net conversion to the end-user).

Id. at 21957–58 ¶ 106.

     These exceptions are inapplicable to DNS. Regarding the first

exception, the fact that DNS may be provided by third parties undercuts

any claims that DNS queries are between the user and the network.

Courts have interpreted the second exception as being aimed at

maintaining backwards compatibility, Charter Advanced Serv., 903 F.3d

at 720, which is a consideration inapplicable to DNS. The third exception

also does not apply as the fact that DNS can be provided by third-party



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providers means that the conversions do not take place solely within the

carrier’s network. In addition, the advent of smart DNS necessarily

means that DNS will make changes that result in net conversions to the

end user. Third, the FCC has pointed to the fact that it has long regarded

toll-free 800 service to be a telecommunications service even though the

end user does not specify the location of the office where the call will

terminate. App. 66 ¶ 114. Courts have not had the occasion to evaluate

the propriety of treating toll-free 800 service as a telecommunications

service. Moreover, toll-free calling represents a narrow exception to the

rule with voice calls, where the calling party know the location they are

contacting in every other case. This contrasts with Internet usage, in

which the party initiating the communication almost never has a clear

idea of the location to which their transmission is directed.




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II.       THE OPEN INTERNET ORDER VIOLATES THE FIRST
          AMENDMENT.

          Not only is the 2024 Open Internet Order inconsistent with the

statutory definition of telecommunications service. It also conflicts with

the First Amendment.5


          A.     The Judicial Decisions Reviewing the 2015 Open
                 Internet Order Implicitly Recognize ISPs’ First
                 Amendment Right Not to Carry Traffic.

          The court that relied on Chevron to uphold the 2015 Open Internet

Order on which the 2024 Open Internet Order was based acknowledged

that broadband providers enjoy full First Amendment protection should

they decide to provide their own content. USTA I, 825 F.3d at 741–42

(“Of course, insofar as a broadband provider might offer its own content—

such as a news or weather site—separate from its internet access service,

the provider would receive the same protection under the First

Amendment as other producers of internet content.”). It further noted

that the First Amendment might also protect broadband providers’



      The discussion in this section draws on Christopher S. Yoo, The
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First Amendment, Common Carriers, and Public Accommodations: Net
Neutrality, Digital Platforms, and Privacy, 1 J. FREE SPEECH L. 463, 487–
94 (2021).


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decisions to filter the content accessible through their networks. Id. at

743 (“If a broadband provider nonetheless were to choose to exercise

editorial discretion—for instance, by picking a limited set of websites to

carry and offering that service as a curated internet experience—it might

then qualify as a First Amendment speaker.”). The court believed that

the FCC’s representation that services over which an ISP exercised

editorial discretion fell outside of the 2015 Open Internet Order obviated

the need for it to consider those possibilities any further. Id.

     The two members of the panel majority advanced the same

reasoning in their concurrence in the denial of rehearing en banc. USTA

II, 855 F.3d at 388–91 (Srinivasan, J., joined by Tatel, J., concurring in

the denial of rehearing en banc). According to the panel majority’s

concurrence, “[t]he key to understanding why” the net neutrality rule

complies with the First Amendment “lies in perceiving when a broadband

provider falls within the rule’s coverage.” Id. at 388. It applies only to

broadband Internet service providers (“ISPs”) that “represent that their

services allow Internet end users to access all or substantially all content

on the Internet, without alteration, blocking, or editorial intervention.”

Id. (quoting 2015 Open Internet Order 5869 ¶ 549). As such, “the net



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neutrality rule applies only to ‘those broadband providers that hold

themselves out as neutral, indiscriminate conduits for transmission of

speech of any and all users.’” Id. at 389 (quoting USTA I, 825 F.3d at

743). The net neutrality mandate simply “requires the ISP to abide by its

representation and honor its customers’ ensuing expectations.” Id. The

concurrence distinguished the Supreme Court’s decision Turner

Broadcasting System, Inc. v. FCC, 512 U.S. 622 (1994), on the grounds

that the cable operators at issue in that case engaged in editorial

discretion over the content they carry, whereas “ISPs subject to the net

neutrality rule represent that they do not.” Id. at 391.

      At the same time, the 2015 Open Internet Order “specifies that an

ISP remains ‘free to offer “edited” services’ without becoming subject to

the rule’s requirements.” Id. at 389 (quoting 2015 Open Internet Order

5872 ¶ 556). Thus, ISPs that choose to offer a “curated experience,” such

as one limited to family friendly websites, or to “filter[] . . . content into

fast (and slow) lanes based on the ISP’s commercial interest,” would fall

outside the net neutrality rules so long as the ISP clearly disclosed its

intentions to do so. Id. at 389–90. The fact that no ISP had yet expressed




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interest in doing so made it unnecessary for the panel to further analyze

that possibility. Id. at 390.

      The D.C. Circuit thus placed dispositive weight on the distinction

between providers that hold themselves out as serving the public

indiscriminately and those exercising editorial discretion over the

content they carry. The former may be treated as common carriers for

First Amendment purposes and be forced to carry speech only if doing so

does not affect their own expression or force them to become associated

with ideas with which they disagree. The court implicitly followed its

prior decision striking down the 2010 Open Internet Order, which

accepted that common carriage duties could apply to edge providers as

well as residential customers. Verizon v. FCC, 740 F.3d 623, 653 (D.C.

Cir. 2014). In so doing, it ignored the precedent that common carriage

duties apply only to services provided to consumers and do not apply to

competitors or other service providers. The Express Package Cases, 117

U.S. 1 (1885); PETER W. HUBER ET AL., FEDERAL TELECOMMUNICATIONS

LAW § 1.3.1, at 13–16; § 5.1.1, 407–08 (2d ed. 1999).

      The panel majority that upheld the 2015 Open Internet Order failed

to appreciate that its recognition that the First Amendment protects



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ISPs’ right to exclude people from bandwidth over which they exercise

editorial discretion also necessarily recognized ISPs’ First Amendment

rights over bandwidth that up until now had been unmanaged. As then-

Judge Kavanaugh emphasized, the existence of a person’s First

Amendment rights does not depend on whether or not they choose to

exercise those rights. USTA II, 855 F.3d at 429 (Kavanaugh, J.,

dissenting from the denial of the petition for rehearing en banc). The fact

that a person may choose not to assert her First Amendment rights at

this time does not prevent her from asserting them in the future. Id. Any

other rule risked subjecting the First Amendment into a de facto “use it

or lose it” principle that has no place in our civil liberties. Id.


      B.     Courts Have Recognized that the First Amendment
             Protects Carriers’ Rights to Offer Services Over Which
             They Exercise Editorial Discretion.

      In addition, courts have held that the fact that a firm offers a

service over which it does not exercise editorial discretion does not

deprive that firm of the constitutional right to offer other services over

which it does exercise editorial discretion. The clearest example is the

line of cases overturning the FCC’s then-extant rule prohibiting

telephone companies from offering cable television services. The FCC


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imposed this rule in 1970, justified by the need to promote competition in

the burgeoning cable television industry. Application of Telephone Cos.

for Section 214 Certificates for Channel Facilities Furnished to Affiliated

Community Antenna Television Systems, Final Report and Order, 21

F.C.C.2d 307, 325 ¶ 49 (1970), aff’d sub nom. Gen. Tel. Co. of Sw. v.

United States, 449 F.2d 846 (5th Cir. 1971). Congress codified the rule in

1984. Cable Communications Policy Act of 1984, Pub. L. No. 98-549, § 2,

98 Stat. 2779, 2785 (previously codified at 47 U.S.C. § 533(b) (1994)).

     In a series of cases, courts uniformly held that preventing telephone

companies from offering video services violated the phone companies’

constitutional rights. See US West, Inc. v. United States, 48 F.3d 1092,

1098 (9th Cir. 1994), vacated and remanded for consideration of

mootness, 516 U.S. 1155 (1996); Chesapeake & Potomac Tel. Co. of Va. v.

United States, 42 F.3d 181, 190 (4th Cir. 1994), vacated and remanded

for consideration of mootness, 516 U.S. 415 (1996); S. New England Tel.

Co. v. United States, 886 F. Supp. 211, 217 (D. Conn. 1995); NYNEX Corp.

v. United States, No. Civ. 93-323-P-C, 1994 WL 779761, at *2 (D. Me. Dec.

8, 1994); BellSouth Corp. v. United States, 868 F. Supp. 1335 (N.D. Ala.

1994); Ameritech Corp. v. United States, 867 F. Supp. 721 (N.D. Ill. 1994).



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Two months after the Supreme Court heard oral argument on these cases

on December 6, 1995, Congress rendered them moot by repealing the

cable-telco cross-ownership ban as part of the Telecommunications Act of

1996, Pub. L. No. 104-104, § 302(b), 110 Stat. 56, 124 (repealing 47 U.S.C.

§ 533). with the support of both the FCC and Department of Justice

Antitrust Division. See US West, 48 F.3d at 1097; Chesapeake & Potomac,

42 F.3d at 187–88.

     The fact that the Supreme Court did not reach the merits of this

argument takes nothing away from the uniform conclusion from the

lower courts that the First Amendment protects common carriers’ right

to provide services over which they exercise editorial discretion. These

precedents support according strong First Amendment protection to

services over which common carriers exercise editorial discretion. These

cases embrace the idea that common carriers have the First Amendment

right to offer these services. When they choose to do so, they enjoy the

same level of First Amendment protection as newspapers, broadcasters,

and publishers. As Justice Thomas observed, “Common carriers are

private entities and may, consistent with the First Amendment, exercise

editorial discretion in the absence of a specific statutory prohibition.”



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Denver Area Educ. Telecomm. Consortium, Inc. v. FCC, 518 U.S. 727, 825

(1996) (Thomas, J., concurring in judgment in part and dissenting in

part).

      These precedents have strong implications for net neutrality. As an

initial matter, the cases defending telephone companies’ rights to offer

video service strongly suggest that ISPs may have the constitutional

right to offer specialized services (of what have been re-termed non-BIAS

services).

      Moreover, suppose that an ISP wished to leave the business of

providing traditional broadband Internet access service and instead to

convert its entire bandwidth to managed services. This would arguably

run afoul of the 2024 Open Internet Order’s concern that fostering

specialized services may deprive over-the-top services and other

providers who depend on traditional broadband Internet access service

to reach their comers. App. 130 ¶ 197. Should the FCC change the scope

of forbearance, it could also require common carriers to obtain permission

from regulators before exiting the business. 47 U.S.C. § 214. These

restrictions would represent substantial impingements on ISPs’ First

Amendment rights.



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                            CONCLUSION

     For the foregoing reasons, the Court should grant the petitions for

review and set aside the Commission’s Order.

                                        Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

     This brief complies with Federal Rule of Appellate Procedure

32(g)(1) because it contains 5,320 words excluding the material exempted

by Federal Rule of Appellate Procedure 32(f).

     This brief complies with the requirements of Federal Rule of

Appellate Procedure 32(a) because it was prepared in 14-point font using

a proportionally spaced typeface.

                                         /s/ Christopher S. Yoo
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                     CERTIFICATE OF SERVICE

     I certify that on August 22, 2024, I filed the foregoing corrected brief

with the Clerk of Court for the U.S. Court of Appeals for the Sixth Circuit

using the CM/ECF system. Per this Court’s rules, filing with CM/ECF

constitutes service of process on all participants in the case.


                                         /s/ Christopher S. Yoo
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August 22, 2024
